      Casebelow
The order  18-00442-SMT
                 is herebyDoc 25 Filed 04/15/19
                           signed.                           Entered 04/15/19 11:09:21         Desc Main
                                          Document        Page 1 of 2
Signed: April 15 2019




                                                        _____________________________
                                                        S. Martin Teel, Jr.
                                                        United States Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLUMBIA

       __________________________________________
                                                 )
       In re:                                    )
                                                 )
             FRANKLIN CALVIN GASKINS, JR.        )                   Case No. 18-00442
                                                 )                   Chapter 7
                         Debtor.                 )
       __________________________________________)


                ORDER GRANTING TRUSTEE’S MOTION TO APPROVE SETTLEMENT

                Upon consideration of the Trustee’s Motion to Approve Settlement and the entire record

       herein, it is hereby

                ORDERED that the Trustee’s Motion to Approve Settlement is hereby granted; and it is

       further

                ORDERED that the settlement agreement between the Trustee and Debtor allowing the

       Debtor to purchase the estate’s interest in his 2015 Jeep Grand Cheroke Ltd for a total cash payment

       to the estate in the amount of $14,000.00 is hereby granted; and it is further

                ORDERED that, pursuant to the terms of the settlement agreement, Debtor shall pay the

       estate the total sum of $14,000.00, payable by way of an initial cash payment of $7,000.00, and
Case 18-00442-SMT        Doc 25     Filed 04/15/19 Entered 04/15/19 11:09:21            Desc Main
                                   Document      Page 2 of 2



consecutive monthly cash payments in the amount of $700.00 for a period of 10 months. Debtor

having paid the initial cash payment of $7,000.00, the first monthly payment of $700.00 shall be due

and payable to the estate not later than 30 days from the date of this Order.



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